53 F.3d 345NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.
    Sandra A. MCDONOUGH, Petitioner,v.OFFICE OF PERSONNEL MANAGEMENT, Respondent.
    No. 95-3114.
    United States Court of Appeals, Federal Circuit.
    March 20, 1995.
    ORDER
    
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      Sandra A. McDonough's informal brief now having been received,
    
    IT IS ORDERED THAT:
    
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      (1) The court's January 11, 1995 dismissal order is vacated, the mandate is recalled, and the petition for review is reinstated.
    
    
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      (2) The Office of Personnel Management should compute the due date for its brief from the date of filing of this order.
    
    